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                          UNITED STATESDISTRICT COURT FOR T2E
                                SOUTHERN DISTRICT OFFLORIDA
                                         M iam iD ivision

                               Ca#eNuG ber:22.21314-CIV-M ORENO

  YOSDALIS E.GARCIA,

                  Plaintiff,
  VS.

  AAM INSUM NCE CORP,doingbusinessas
  UNIVISTX m SURANCE;ALBERTO
  D OM m GUEZ M EN EN D EZ;and A LA IN
  POM INGUEZ M ENENDEZ,
                  D efendant.


                         FINAL ORDER 0# DISM ISSAL AND O1tb2R
                        DENYING ALJ,PENDING M OTIONSASM OOY
            THIS CAUSE camebeforetheCourtupon Stipulation ofDlsmissalWithPrejudice(b.E.
  14),filedonAuzust26.2022.
            t-Ht COURT hasconsidered thenoticeand thepertinentpprtionsoftherecord,and is
  otherwisefullyadvtse'
                      dinthepremises.Itis
            ADJ
              .UDGED thatthisCauseisDISM ISSED withprejudice,with each pal'ty bearingits
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  own feesand costs. Fed.R.Civ..P.41(a)(1)(A)(ii).'The Cotu'
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  Copiesfurnished to:

  Cotm selofR ecord
